Case 3:24-cv-01764-AB Document1-1 Filed 10/18/24 Pagelof1

JS 44 (Rev. 08/18) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (S/F INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
PIZZA PACK LLC, an Oregon Limited Liability Company, TARGET CORPORATION, a Minnesota Corporation,
(b) County of Residence of First Listed Plaintiff © Marion County of Residence of First Listed Defendant _ Hennepin
(EXCEPT IN U.S. PLAINTIV CASES) (IN U.S. PLAINTIFT CASES ONLY)

NOTE: — INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys gam Name, Address, and Telephone Number) Attorneys (/f Known)
Stephen P. McCarthy, Hitt Hiller Monfils Williams LLP, 411 SW 2nd Ave.,

Ste. 400, Portland, OR 97204, (503) 243-2957
Mark S. Hubert, 938 NE Shore Line Rd., Prineville, OR 97754

II. BASIS OF JURISDICTION (Pace an “x” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (ace an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government % 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 01 G1 Incorporated or Principal Place o4 4
of Business In This State
O 2. U.S. Government 04 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place aos o5
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a O3 QO 3 Foreign Nation O86 O86
Foreign Country
OF SUIT (Place an“.

IV. NATURE

X" in One Box Only)

Click here for: Nature of Suit Code Descriptions.

Ley R p

PERSONAL INJURY

bau}

ORFELTURE/PENALTY

110 Insurance PERSONAL INJURY O 625 Drug Related Seizure

qa 422 Appeal 28 USC 158 a
1 120 Marine G 310 Airplane © 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 0 376 Qui Tam (31 USC
0 130 Miller Act © 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729%(a))
© 140 Negotiable Instrument Liability 367 Health Care/ OC 400 State Reapportionment
01 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical __ PROPERTY RIGHTS 40 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights © 430 Banks and Banking
C1 151 Medicare Act C1 330 Federal Employers” Product Liability 830 Patent 450 Commerce
C1 152 Recovery of Defaulted Liability 0 368 Asbestos Personal 0 835 Patent - Abbreviated O 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application |O 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability 840 Trademark Corrupt Organizations
C1 153 Recovery of Overpayment Liability PERSONAL PROPERTY |... Ro ES ( LL FRY. 40 480 Consumer Credit
of Veteran's Benefits © 350 Motor Vehicle 370 Other Fraud OG 710 Fair Labor Standards OG 861 HIA (1395ff) G 485 Telephone Consumer
0 160 Stockholders’ Suits OG 355 Motor Vehicle © 371 Truth in Lending Act G 862 Black Lung (923) Protection Act
190 Other Contract Product Liability 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 1 850 Securities/Commodities/
© 196 Franchise Injury CO 385 Property Damage 0 740 Railway Labor Act 865 RSI (405(g)) Exchange
© 362 Personal Injury - Product Liability OG 751 Family and Medical 1 890 Other Statutory Actions
Medical Malpractice Leave Act O 891 Agricultural Acts
_ REAL P iY CIVIL RIGHTS _ [PRISONER PETIFIONS 0 790 Other Labor Litigation - RAL 1 : ( 893 Environmental Matters
© 210 Land Condemnation C440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement 1 870 Taxes (U.S. Plaintiff 0 895 Freedom of Information
0 220 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
© 230 Rent Lease & Ejectment O 442 Employment C1 510 Motions to Vacate © 871 IRS—Third Party O 896 Arbitration
© 240 Torts to Land 443 Housing/ Sentence 26 USC 7609 0 899 Administrative Procedure
© 245 Tort Product Liability Accommodations 530 General Act/Review or Appeal of
© 290 All Other Real Property © 445 Amer. w/Disabilities - | 535 Death Penalty |____ IMMIGRATION - Agency Decision
Employment Other: © 462 Naturalization Application O 950 Constitutionality of
© 446 Amer. w/Disabilities -] J 540 Mandamus & Other | 465 Other Immigration State Statutes
Other 0 550 Civil Rights Actions
0 448 Education C1 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
wt Original (12 Removed from OM 3° Remanded from O14 Reinstatedor © 5 Transferred from © 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

35 U.S.C. § 271; 15 U.S.C. § 1125(a)

Brief description of cause: oo.
Patent Infringement; Trade Dress infringement

VI. CAUSE OF ACTION

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: MH Yes ONo
VIII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORMY NY VAS ——
10/18/2024 ue q
FOR OFFICE USE ONLY on 1 oe

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

